                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN




WILLIAM FEEHAN,
                      Plaintiff,
                      v.                                       CASE NO. 2:20-cv-1771-PP
WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK L.
THOMSEN, MARGE BOSTELMAN, JULIE
M. GLANCEY, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., in their official capacities,
GOVERNOR TONY EVERS, in his official
capacity,
                      Defendants.
_____________________________________________________________________________

    MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
             MOTION FOR SANCTIONS (ECF NO. 97)

______________________________________________________________________________

                             Statement of Facts

       Defendant begins his argument with the ironic statement that “Plaintiff and his

counsel delayed in filing this case four weeks after Wisconsin’s Presidential Election…”

(ECF No. 98, p.3). Yet, here, the Defendant files a motion for sanctions on March 31,

2021, more than three months since this Court dismissed the case on December 9, 2020.

ECF No 83. Defendant’s motion is filed out of time. This Court has no jurisdiction.

       Plaintiff commenced this action on December 1, 2020 and amended his complaint

on December 3, 2020. ECF Nos. 1, 9. This Court dismissed the complaint pursuant to a

motion under FRCP 12(b)(6) on December 9, 2020. ECF No. 83. Judgment was entered

on December 10, 2020. ECF No. 85. Plaintiff filed a notice of appeal to the Seventh


         Case 2:20-cv-01771-PP Filed 04/08/21 Page 1 of 5 Document 106
Circuit on December 10, 2020 and an amended appeal on December 15. ECF Nos. 84, 90.

On February 1, 2021, the Seventh Circuit dismissed Plaintiff’s appeal with instruction to

vacate the court’s earlier decision and to dismiss the case as moot. (See Seventh Circuit

No. 20-3448, Dkt. 16; ECF No. 95). Two weeks later, on February 15, 2021, this Court

complied with the appellate court order and vacated its decision and dismissed this case as

moot. ECF No. 95.1

                                     Argument

              Plaintiff’s Motion is Without Jurisdiction and is Untimely.

       Two months have passed since the Seventh Circuit found this case to be moot and

remanded it with instructions to vacate this Court’s prior decision. Nonetheless, during

those two months, the Defendant did not make any application for sanctions, nor did

Defendant make any motion for sanctions during the proceedings or the appeal. Further,

the Defendant has not made an effort to reopen this case, which was closed by the court in

December of 2020.

       Now that the case has been vacated long ago as moot, Defendant appears with a

non-meritorious motion for sanctions that is filed out of time and which, under controlling

Seventh Circuit precedent, may not be considered by this court.2

       In Overnite Transp. Co. v. Chi. Indus. Tire Co., 697 F.2d 789, 793-794 (7th Cir.



1
 The Supreme Court’s denial of Plaintiff’s Extraordinary Writ of Mandamus, filed on December
29, 2020, on March 1, 2021 without opinion, does not affect the analysis here. The Supreme Court
action was not an appeal of the Seventh Circuit’s dismissal. Further, this motion comes a month
after that decision.
2
  Should the court somehow find jurisdiction and deny the instant motion, Plaintiff will present a
formal opposition to the motion seeking its denial on the merits and request a full hearing as
evidence would be required.
                                                2

         Case 2:20-cv-01771-PP Filed 04/08/21 Page 2 of 5 Document 106
1983), the Seventh Circuit held that a party may not bring a motion for sanctions after an

appeal has been dismissed. As the court explained:

         In the instant case no motion requesting attorney's fees was filed with either the
         district court or this court during the pendency of Overnite’s original appeal on the
         merits. It was not until two months after this court affirmed the district court's
         dismissal of the plaintiff's action that the defendant filed its motion for fees and
         costs. Therefore, since the defendant failed to file a motion before any court
         requesting attorney’s fees while the appeal on the merits was pending, and
         because the district court did not reserve jurisdiction nor was jurisdiction
         expressly reserved by statute, we hold the defendant did not file its motion
         within a reasonable time and the district court was without jurisdiction to act
         on the motion. Therefore, the order granting the defendant's motion for attorney’s
         fees is hereby set aside and vacated.

Id. (emphasis added).

         Overnite’s decision is controlling law and must be followed by this Court. Realizing that

his motion is out of time, Defendant urges this Court to ignore this precedent. His arguments are

unavailing. Defendant’s reliance upon an earlier Supreme Court case, White v. N.H. Dep't of

Employment Sec., 455 U.S. 445, 454 (1982) is misplaced. That decision specifically addressed an

attorneys’ fees application in a civil rights case, under 42 USCS § 1988. Here, by contrast,

Defendant’s motion is not brought pursuant to 42 UCSC § 1988. It cannot stand. It is long past

the time for seeking rehearing in the Court of Appeals, or any other action allowed by the rules.

           Defendant would have this Court make new law, create an exception for a baseless and

untimely motion, which—with no precedent in the case law or any rule—could extend the time

for filing a sanctions motion “to infinity and beyond” to harass a plaintiff in what amounts to

nothing more than political grandstanding.3




3
    Buzz Lightyear, Toy Story (Pixar 1995).

                                                  3

            Case 2:20-cv-01771-PP Filed 04/08/21 Page 3 of 5 Document 106
                                            Conclusion

       For the reasons set forth above, the Defendant’s motion for sanctions should be struck in

its entirety as filed out of time in a closed case over which there is no longer jurisdiction.

Defendant has given this Court no basis or authority for exercising jurisdiction in these

circumstances, and the law provides none.

    Respectfully submitted, this 8th day of April, 2021.

                                             ATTORNEYS FOR PLAINTIFF
                                             Sidney Powell
                                             Texas Bar No. 16209700
                                             Sidney Powell, PC
                                             2911 Turtle Creek Blvd.
                                             Suite 300
                                             Dallas, Texas 75219
                                             (517) 763-7499
                                             sidney@federalappeals.com


                                             /s/ Howard Kleinhendler
                                             Howard Kleinhendler
                                             New York Bar No. 2657120
                                             Howard Kleinhendler, Esquire
                                             369 Lexington Avenue, 12th Floor
                                             New York, New York 10017
                                             (917) 793-1188
                                             howard@kleinhendler.com


                                             Local Counsel for Plaintiff
                                             Michael D. Dean
                                             Wis. Bar No.01019171
                                             P.O. Box 2545
                                             Brookfield, WI 53008
                                             (262) 798-8044
                                             miked@michaelddeanllc.com




                                                4

         Case 2:20-cv-01771-PP Filed 04/08/21 Page 4 of 5 Document 106
                           Daniel J. Eastman
                           Wis. Bar No.1011433
                           P.O. Box 158
                           Mequon, Wisconsin 53092
                           (414) 881-9383
                           dan@attorneyeastman.com




                              5

Case 2:20-cv-01771-PP Filed 04/08/21 Page 5 of 5 Document 106
